                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

Myron L. Guthrie,                                )
                                     Movant,     )
vs.                                              ) No. 07-0232-CV-W-FJG
United States of America,                        ) Crim. No. 05-00354-01-CR-W-FJG
                                     Respondent. )

                                             ORDER
       Pending before this Court is movant’s motion pursuant to 28 U.S.C. § 2255 to
vacate, set aside, or correct his sentence (Doc. #1, filed March 19, 2007). The Court finds
that it has jurisdiction over this matter.
       Movant entered into plea negotiations with the government, and pled guilty on
October 13, 2005 to conspiracy to distribute cocaine base (“crack”) in an amount of 50
grams or more, and to the criminal forfeiture count. See Doc. #25. Through the plea
agreement, movant was informed of the sentencing procedure to be used by the court.
Doc. #25, ¶¶ 6, 8, 10-12. Movant also waived his right to appeal or challenge, through
post-conviction motions, his guilt or sentence. Doc. #25, ¶ 15.
       The issues raised by movant focus on (1) whether or not defense counsel’s
representation fell below an objective standard of reasonableness and movant was thereby
prejudiced, claiming that his defense counsel ought to have argued against the disparity
in sentences for cocain base (“crack”) versus powder cocaine; and (2) whether this Court
ought to have applied a two-level enhancement for possession of a dangerous weapon.
       Strickland v. Washington, 466 U.S. 668, 687 (1984) held to establish ineffective
assistance of counsel, defendant must show: (1) that his counsel’s representation fell below
an objective standard of reasonableness; and (2) that counsel’s errors were prejudicial.
The Court must indulge a strong presumption that counsel’s conduct falls within the wide
range of reasonable professional assistance; that the challenged action might be
considered sound trial strategy. The reasonableness of counsel’s action is judged from the
perspective of counsel at the time of trial and not by hindsight. Lockart v. Fretwell, 506
U.S. 364 (1993). Even if counsel’s actions are professionally unreasonable, it may not

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warrant setting aside the judgment if the error had no effect on the judgment.
                                       JUDGMENT
       The Court has reviewed movant’s motion (Doc. #1) respondent’s opposition (Doc.
#4), and the record in movant’s criminal case, and finds that movant’s allegations are
without merit. In particular, movant has waived his post-conviction rights. Further,
movant’s substantive claims are without merit for the reasons stated in respondent’s
opposition (Doc. #4). This Court adopts and incorporates by reference herein that analysis
as its own.
       For the aforesaid reasons movant’s motion to vacate, set aside or correct his
sentence pursuant to 28 U.S.C. § 2255 (Doc. #1), filed March 19, 2007, is denied.
       No evidentiary hearing will be held in this matter because the issues raised are
resolvable by the record. Furthermore, movant will be denied a motion for certificate of
appealability, in that the issues raised are not debatable among reasonable jurists, nor
could a court resolve the issues differently.


                                                    /s/Fernando J. Gaitan, Jr.
                                                    Fernando J. Gaitan, Jr.
                                                    Chief United States District Judge
Dated:    5/9/07
Kansas City, Missouri




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